     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 1 of 7




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS

ASSOCIATION OF AMERICAN                         §
PHYSICIANS AND SURGEONS                         §
EDUCATIONAL FOUNDATION,                         §
                                                §
              Plaintiff,                        §
                                                §
                    v.                          §
                                                §   Case No. 3:22-cv-240
AMERICAN BOARD OF INTERNAL                      §
MEDICINE, AMERICAN BOARD OF                     §
OBSTETRICS & GYNECOLOGY,                        §
AMERICAN BOARD OF FAMILY                        §
MEDICINE, and ALEJANDRO                         §
MAYORKAS, in his official capacity as           §
the Secretary of the U.S. Department            §
of Homeland Security,                           §
                                                §
             Defendants.                        §

 AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL
 CONFERENCE AND DEADLINE FOR THE JOINT DISCOVERY AND CASE
                    MANAGEMENT PLAN

TO THE HONORABLE JUDGE OF SAID COURT:

      NOW COME Plaintiff Association of American Physicians and Surgeons

Educational Foundation (“Plaintiff”) and Defendants American Board of Obstetrics &

Gynecology (“ABOG”), American Board of Internal Medicine (“ABIM”), American

Board of Family Medicine (“ABFM”), and Alejandro Mayorkas, in his official capacity as

the Secretary of the U.S. Department of Homeland Security (“DHS”) (collectively, the

“Defendants”), and file this Agreed Motion to Vacate the Initial Scheduling Conference
     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 2 of 7




and the requirement to file a Joint Discovery/Case Management Plan.           Plaintiff and

Defendants collectively are the “Parties.” In support thereof, the Parties respectfully show

as follows:

       1.     Plaintiff filed this lawsuit on July 12, 2022.

       2.     On August 26, 2022, the Court entered a scheduling order implementing the

schedule for dispositive briefing under Federal Rule of Civil Procedure 12 that the Parties

had requested in their Agreed Motion to Extend Deadline to File Responsive Pleadings and

Set Briefing Schedule. See ECF Nos. 10, 11.

       3.     In light of the scheduling order now governing the case, the Parties believe

that the joint case management statement and discovery plan, which is currently due on

October 28, 2022, see ECF No. 5, has been superseded.

       4.     The Parties also believe that, in light of the scheduling order now governing

the case, the initial scheduling conference and pre-trial conference set for November 9,

2022, has also been superseded.

       5.     The Parties also believe that, if this motion were granted, it would suspend

the initial disclosures requirement.

       6.     The Parties therefore respectfully request that the Court grant this Agreed

Motion, suspend the initial disclosures requirement, and vacate both the deadline for the

Joint Discovery and Case Management Plan and the Initial Scheduling and Pre-trial

Conference.




    AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL CONFERENCE AND
DEADLINE FOR THE JOINT DISCOVERY AND CASE MANAGEMENT PLAN                 2
     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 3 of 7




      WHEREFORE, PREMISES CONSIDERED, Plaintiff Association of American

Physicians and Surgeons Educational Foundation and Defendants American Board of

Obstetrics & Gynecology, American Board of Internal Medicine, American Board of

Family Medicine, and Alejandro Mayorkas, in his official capacity as the Secretary of the

U.S. Department of Homeland Security respectfully request that this Court grant this

Motion, suspend the initial disclosures requirement, and vacate both the deadline for the

Joint Discovery and Case Management Plan and the Initial Scheduling and Pre-trial

Conference.

      Dated: October 19, 2022                  Respectfully submitted,


                                               /s/Laurel H. Lum
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                                               ALEJANDRO MAYORKAS, in his
                                               official capacity as the Secretary of the
                                               U.S. Department of Homeland
                                               Security

    AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL CONFERENCE AND
DEADLINE FOR THE JOINT DISCOVERY AND CASE MANAGEMENT PLAN                 3
     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 4 of 7




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    AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL CONFERENCE AND
DEADLINE FOR THE JOINT DISCOVERY AND CASE MANAGEMENT PLAN                 4
     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 5 of 7




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    AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL CONFERENCE AND
DEADLINE FOR THE JOINT DISCOVERY AND CASE MANAGEMENT PLAN                 5
    Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 6 of 7




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    AGREED MOTION TO VACATE INITIAL SCHEDULING AND PRE-TRIAL CONFERENCE AND
DEADLINE FOR THE JOINT DISCOVERY AND CASE MANAGEMENT PLAN                 6
     Case 3:22-cv-00240 Document 24 Filed on 10/19/22 in TXSD Page 7 of 7




                            CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been
delivered to all parties of record, in compliance with the Court’s ECF/CM system and/or
Rule 5 of the Federal Rules of Civil Procedure, on the 19th day of October, 2022.

                                                 /s/Laurel H. Lum
                                                 Laurel H. Lum
